              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

UNITED STATES OF AMERICA              )
                                      )
Plaintiff,                            )
                                      )
     v.                              )     Case No. 19-00207-CR-W-HFS
                                      )
RICHARD K. JAMES                      )
                                      )
Defendant.                            )



                                   ORDER
      Having considered defendant’s motion to suppress (Doc. 19), the transcript

of the hearing and briefing of the parties, I ADOPT the report and

recommendation (Doc. 38), and DENY the motion to suppress (Doc. 19).

      The closest question relates to the search of the fanny bag. Just because

the officers, perhaps mistakenly, referred to what they identified as marijuana

seeds and stems, their testimony is not fatally impeached by the pictures

submitted by the defense as exhibits. Their individual testimony that they

reasonably believed they were viewing some marijuana litter is reasonable, given




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their experience and credibility, as found by Judge Maughmer. This justified a

search of the fanny bag.




                                      s/ HOWARD F. SACHS

                                      HOWARD F. SACHS
                                      UNITED STATES DISTRICT JUDGE

October 21, 2020

Kansas City, Missouri




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